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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF NEW YORK



    THOMAS SCHANSMAN, et al.,                                          Case No. 1:19-cv-02985-ALC-GWG

                                      Plaintiffs,                      Hon. Andrew L. Carter, Jr.

          v.

    SBERBANK OF RUSSIA, PJSC, et al.,

                                      Defendants.



       SBERBANK’S OPPOSITION TO PLAINTIFFS’ REQUEST FOR AN ORDER
      COMPELLING COMPLIANCE WITH THE COURT’S MARCH 9, 2022 ORDER

         Plaintiffs’ unauthorized “request”—a motion to compel jurisdictional discovery—should

be denied outright because it is premature and violates numerous procedural rules. In particular,

Plaintiffs’ counsel failed to participate in any meet-and-confer conference and to file a pre-motion

letter requesting an informal conference with the Court, before unilaterally filing their motion late

Friday night. See Fed. R. Civ. P. 37(a)(1); L. Civ. R. 37.2, Individual Practices, Sec. 2.A. 1

         Plaintiffs’ motion continues Plaintiffs’ pattern of attempting to delay this Court’s

consideration of Sberbank’s pending motion to dismiss for lack of subject-matter jurisdiction

under the FSIA. Plaintiffs initially proposed that Sberbank’s FSIA motion be deferred until after

merits fact discovery, then proposed a briefing schedule that stretched into September 2022, and

now seek an indeterminable extension of the March 9 Scheduling Order, including their time to

respond to Sberbank’s FSIA motion. The Court should not countenance Plaintiffs’ ongoing efforts


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 Plaintiffs’ single-spaced “request” also fails to conform to this Court’s formatting requirements for motions and other
papers (see L. Civ. R. 11.1(b)(3)), and thus violates the Court’s order that “[a]ny future correspondence with the Court
regarding requests for modifications to this schedule, whether filed by Plaintiffs or Sberbank, shall not exceed three
(3) pages” (see Mar. 9, 2022 Scheduling Order, ECF No. 298).
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to avoid Sberbank’s sovereign-immunity arguments and delay this Court’s resolution of the

threshold question of its subject-matter jurisdiction.

       Plaintiffs’ motion also lacks merit. First, the motion misrepresents both what Sberbank

has produced and what Sberbank has stated about that production. Sberbank has produced more

than 33,000 pages of documents as part of jurisdictional discovery. And Sberbank produced over

6,500 of those pages on March 1, 2022, before any order required it to do so. The documents that

Sberbank has produced are more than sufficient to show the “degree of independence the Central

Bank of the Russian Federation . . . enjoys vis-à-vis the Russian Federation and the Federation’s

agencies of state power.” Mot. 1. Sberbank’s document productions include, without limitation:

relevant statutes and regulations concerning the functions of the Central Bank, laws and press

releases regarding the transfer of Sberbank’s shares from the Central Bank to the Ministry of

Finance, Sberbank’s regulatory disclosures regarding the transfer of its shares, various corporate

governance documents of Sberbank, numerous annual reports of the Central Bank as well as annual

reports of Sberbank, the transcript of Sberbank’s Q1 2020 earnings call, and Sberbank press

releases concerning the Central Bank. See Pls.’ Exh. A, ECF No. 306-1 at 4.

       Second, contrary to Plaintiffs’ assertions, Sberbank’s document production does contain

statements by Sberbank officials sufficient to show the functions and independence of the Central

Bank, including, for example the transcript of Sberbank’s Q1 2020 earnings call and Sberbank

press releases mentioning the Central Bank. See id. at 2, 5. Additionally, as Sberbank’s counsel

informed Plaintiffs’ counsel, Sberbank’s Division of Corporate Secretary confirmed that there is

no official correspondence between Sberbank and the Central Bank or the Ministry of Finance

regarding the April 2020 share transfer. Id. Regarding the “agreement on representation of

interests of the Government of the Russian Federation” (Request I.C.), such agreement is not a




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Sberbank document and Sberbank does not have it; if it exists, it would be between the Ministry

of Finance and its nominees. Id.

       Finally, Plaintiffs have failed to demonstrate any good cause that would warrant altering

the jurisdictional discovery schedule. And next week’s deposition schedule of the parties’

respective Russian law experts does not provide such cause. Neither Plaintiffs’ expert (Prof.

Butler) nor Sberbank’s expert (Prof. Efimova) base their conclusions regarding the nature and

functions of the Bank of Russia on “communications and statements from Sberbank officers” or

the “agreement on representation of the interests of the Government of the Russian Federation

referred to in Federal Law No. 50-FZ” (Plaintiffs’ Requests 1.A, C). See Efimova Decl., ECF No.

260; Butler Decl., ECF No. 305. Indeed, nowhere in his declaration does Prof. Butler state that it

would be helpful—let alone necessary—to consider such material in order to reach his

conclusions. Instead, Prof. Butler relies (albeit sparingly) on the Russian Constitution and

statutory law, academic commentary, and decisions of Russian courts, which is unsurprising given

that the Bank of Russia’s core functions can be determined as a matter of Russian law. See, e.g.,

Garb v. Republic of Poland, 440 F.3d 579, 594-95 (2d Cir. 2006) (relying on the Constitution of

Poland, an academic article on Polish constitutional politics, and an expert affidavit to determine

“political subdivision” status of entity). Moreover, according to Prof. Butler, “Professor Efimova

and I are agreed that the Central Bank of Russia is a federal State agency enjoying a unique legal

status, is not part of the Presidency, Legislature, or Judicial system, is not an agency of State power

or of executive power, and engages in commercial and regulatory functions.” Butler Decl. ¶ 25

(emphasis added).




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                                       CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ “request” to compel Sberbank

to produce additional documents and to alter the jurisdictional discovery schedule set by the

Court’s March 9 Scheduling Order.

March 29, 2022                                        Respectfully submitted,

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